                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                        Plaintiff,                  )
                v.                                  )       No. 3:13CR00120
                                                    )       Judge Campbell
BENITO RAYO ROSAS,                                  )
                                                    )
                        Defendant.                  )

                     AMENDED PRELIMINARY ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

       1.       As the result of the Court’s acceptance of Defendant’s Benito Rayo Rosas’ guilty

plea in the above-styled case, in which the Government sought forfeiture pursuant to 21 U.S.C. §

853, Defendant Benito Rayo Rosas shall forfeit to the United States his interest in real property

commonly known as 3516 Quaker Court, Murfreesboro, Tennessee 37128, and more particularly

described as:

                Land in Rutherford County, Tennessee, being Lot No. 8,
                Haverford, of record in Plat Book 15, page 97, Register’s Office
                for Rutherford County, Tennessee, to which plan reference is
                hereby made for a more complete description.

                Being the same property conveyed to Samantha Rosas by
                Warranty Deed from Christopher R. McClendon, Cheryl L.
                Richardson as Executrix, Carol Y. Leech, Cheryl L. Richardson
                and Dorothy J. Voyles record on March 29, 2012 in Book 1120,
                pages 2404-2405, Register’s Office for Rutherford County,
                Tennessee

(hereinafter referred to as ‘Subject Property”). As to all remaining items listed in the Forfeiture

Allegations of the Indictment, the Defendant has waived any interest he may have thereto.




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        2.     The Court has determined, based on the Plea Agreement entered herein between

the United States and Defendant Benito Rayo Rosas dated April 7, 2014 and the factual basis

agreed to therein at paragraph 8 and related paragraphs 3 and 26 through 32, that the Subject

Property is subject to forfeiture pursuant to 21 U.S.C. § 853 and that the Government has

established the requisite nexus between such property and such offense.

        3.     Upon the entry of this Order, the Attorney General (or his designee) is authorized

to seize the Subject Property and to conduct any discovery proper in identifying, locating or

disposing of the property subject to forfeiture in accordance with Fed. R. Crim. P. 32.2 (b)(3).

        4.     Upon entry of this Order, the Attorney General (or his designee) is authorized to

commence any applicable proceeding to comply with statutes governing third party rights,

including giving notice of this Order, in accordance with Fed. R. Crim. P. 32.2.

        5.     Upon the issuance of the Preliminary Order of Forfeiture forfeiting the

defendant’s interest in the Subject Property, the United States shall publish notice of the order

and its intent to dispose of the property in such a manner as the Attorney General (or his

designee) may direct. The United States shall also, to the extent practicable, provide written

notice to any person known to have alleged an interest in the Subject Property.

        6.     Any person, other than the above named defendant, asserting a legal interest in

the Subject Property shall, within thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the court for a hearing without a jury to adjudicate the

validity of his alleged interest in the Subject Property, and for an amendment of the order of

forfeiture.

        7.     Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture shall

become final as to the defendant at the time of sentencing, or before sentencing if the defendant



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consents, and shall be made part of the sentence and included in the judgment. If no third party

files a timely claim, this Order shall become the Final Order of Forfeiture, as provided by Fed. R.

Crim. P. 32.2(c)(2).

       8.      Any petition filed by a third party asserting an interest in the Subject Property

shall be signed by the petitioner under the penalty of perjury and shall set forth the nature and

extent of the petitioner’s right, title, or interest in the Subject Property, the time and

circumstances of the petitioner’s acquisition of the right, title, or interest in the Subject Property,

any additional facts supporting the petitioner’s claim and the relief sought.

       9.      After the disposition of any third party motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in accordance

with the Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

       10.     The United States shall have clear title to the Subject Property following the

Court’s disposition of all third party interests, or, if none, following the expiration of the period

provided by 28 U.S.C. § 2461(c) which incorporates by reference the pertinent provision of 21

U.S.C. § 853(n)(2) for the filing of third party petitions.

       11.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       IT IS SO ORDERED on this              day of ______________________, 2014.




                                               _________________________________
                                               TODD J. CAMPBELL
                                               United States District Judge

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